Case 2:21-cv-00174-JRG Document 298 Filed 05/20/22 Page 1 of 4 PageID #: 25344




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


ARIGNA TECHNOLOGY LTD.,                               Case No. 2:21-CV-00174-JRG

                         Plaintiff,                   JURY TRIAL DEMANDED
                                                      PATENT CASE
          v.

GENERAL MOTORS LLC, ET AL.

                         Defendants.


     JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

          Pursuant to this Court’s Standing Order Regarding Proper Notification of Settlement to the

Court, a settlement in principle has been reached that resolves all matters in controversy between

Plaintiff Arigna Technology Ltd., (“Plaintiff”) and Defendant General Motors LLC (“GM”) in the

above-entitled and numbered action, but additional time is needed to complete certain prerequisites

to dismissal. Accordingly, GM and Arigna respectfully request that the Court stay all pending

deadlines between them for 30 days, up to and including June 19, 2022. Plaintiff and GM request

this stay not for purposes of any delay, but so that they may finalize and file dismissal papers1

without incurring additional expenses. This requested stay applies only to GM and does not impact

Arigna’s ongoing action against the Nissan defendants.

          If the Court grants GM and Arigna’s request for a stay, certain motions that are pending

between Arigna and GM only (which do not concern the Nissan defendants) will not require

adjudication by the Court. Those motions are listed in the table below:




1
 GM and Arigna agree that the dismissal papers would provide that Arigna dismiss the action
against GM with prejudice and that both parties would bear their own costs and fees.


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Case 2:21-cv-00174-JRG Document 298 Filed 05/20/22 Page 2 of 4 PageID #: 25345




      Docket No.                                   Motion
       Dkt. 163        Arigna’s Motion to Exclude Opinions of Lance Gunderson
       Dkt. 170        GM’s Daubert Motion to Exclude Expert Opinions of David E.
                       Yurkerwich

 Dated: May 20, 2022                      Respectfully submitted,

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                                          2
Case 2:21-cv-00174-JRG Document 298 Filed 05/20/22 Page 3 of 4 PageID #: 25346




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                                      3
Case 2:21-cv-00174-JRG Document 298 Filed 05/20/22 Page 4 of 4 PageID #: 25347




                               CERTIFICATE OF SERVICE

        The undersigned certifies that on May 20, 2022 a true and correct copy of the

 foregoing document was served on all attorneys of record who have consented to electronic

 service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                           /s/ Matthew R. Berry
                                           Matthew R. Berry




                                              4
